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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 SPEECH FIRST, INC.,                               )
                                                   )
                  Plaintiff,                       )
                                                   )
            v.                                     ) Civil Action No.
                                                   ) 2:18-cv-11451-LVP-EAS
                                                   )
 MARK SCHLISSEL, et al.,                           )
                                                   )
                  Defendants.                      )




    UNITED STATES’ STATEMENT OF INTEREST IN SUPPORT OF
      PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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       The University of Michigan (“University”) proclaims on its website that

“[f]reedom of speech is a bedrock principle of [its] community and essential to [its]

core educational mission as a university.”1 Unfortunately, the University is failing

to live up to that laudable principle. Instead of protecting free speech, the University

imposes a system of arbitrary censorship of, and punishment for, constitutionally

protected speech. The University’s policies prohibit speech that any listener finds

“bothersome” or “hurtful”—an overbroad, vague, and subjective standard that is a

paradigmatic example of the chilling of free expression prohibited by the First

Amendment. Universities have a crucial legal obligation to protect students from

harassment and harm, and wide latitude to promote tolerance and respectful dialogue

on their campuses. But state-run institutions like the University also must uphold

the bedrock guarantees enshrined in the First Amendment.             The University’s

policies, even if well-intentioned, fail in this regard—they violate the Constitution’s

free speech guarantee and should be enjoined.

       The United States respectfully submits this Statement of Interest under 28

U.S.C. § 517, which authorizes the Attorney General “to attend to the interests of

the United States in a suit pending in a court of the United States.” The United States

is resolutely committed to protecting First Amendment freedoms and to ensuring, as


   1
     Free Speech on Campus, available at
https://publicaffairs.vpcomm.umich.edu/free-speech-on-campus/ (last viewed June
8, 2018).
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Congress has directed, that public “institution[s] of higher education . . . facilitate

the free and open exchange of ideas.” 20 U.S.C. § 1011a(a)(2). In the United States’

view, Plaintiff Speech First, Inc., has established that it is likely to succeed on the

merits of its claim that the University of Michigan’s Statement of Student Rights and

Responsibilities   (“Statement”)    and    Bias   Response     Policy    are   facially

unconstitutional under the First and Fourteenth Amendments.

      “The essentiality of freedom in the community of American universities is

almost self-evident.” Sweezy v. State of New Hampshire by Wyman, 354 U.S. 234,

250 (1957). “Teachers and students must always remain free to inquire, to study and

to evaluate, to gain new maturity and understanding; otherwise our civilization will

stagnate and die.” Id. Unfortunately, the University’s Statement and Bias Response

Policy are eroding that fundamental freedom and chilling the very free and open

exchange of ideas that should define American university life for faculty and

students alike.

      In particular, the University’s policies authorize University officials to

dispense disciplinary consequences against a speaker who engages in

constitutionally protected speech based on nothing more than a listener’s “feelings”

that the speech was “hurtful” or “bothersome.” The University’s policies thus do

precisely what the First Amendment forbids: they ban a broad swath of core

protected speech based solely on “[l]isteners’ reaction,” Forsyth Cty. v. Nationalist


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Movement, 505 U.S. 123, 134 (1992), that the speech is somehow “offensive or

disagreeable,” Texas v. Johnson, 491 U.S. 397, 414 (1989).

      The University’s violation of the First Amendment does not end there. The

University has also declined to bind itself to any definitions for key terms in the

Statement, let alone “narrowly drawn, reasonable, and definite standards for

[University] officials to follow” in enforcing it. Niemotko v. Maryland, 340 U.S.

268, 271 (1951). Instead, the University has identified only “example” definitions

that University officials may or may not adhere to in applying the Statement’s

proscriptions on and punishments of speech. Accordingly, individuals “of common

intelligence must necessarily guess at” the parameters of the Statement’s speech

prohibitions, Broadrick v. Oklahoma, 413 U.S. 601, 607 (1973), and are being forced

to limit their speech and “‘steer far wider of the unlawful zone,’ than if the

boundaries of the forbidden areas were clearly marked,” Baggett v. Bullitt, 377 U.S.

360, 372 (1964). And members of the University community engage in such speech

activities at the peril of potentially “arbitrary, discriminatory, and overzealous

enforcement” by University officials, who may apply any definition or no definition

at all to the Statement’s key terms—or even different definitions across cases based

on their own personal approval or disapproval of the challenged speech. Leonardson

v. City of East Lansing, 896 F.2d 190, 196 (6th Cir. 1990) (internal quotation marks

omitted). But as the Supreme Court reaffirmed just last week, “it is not, as the Court


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has repeatedly held, the role of the State or its officials to prescribe what shall be

offensive.” Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, No. 16-

111, Slip Op. at 16 (U.S. June 4, 2018).

      The First Amendment demands more.              The Court should apply the

Constitution’s guarantee of free and open discourse on public campuses and hold

that the challenged portions of the Statement and the Bias Response Policy are

unconstitutional.

                    INTEREST OF THE UNITED STATES

      The United States has an interest in protecting the individual rights guaranteed

by the First Amendment. The right to free speech lies at the heart of a free society

and is an “effectual guardian of every other right.” Virginia Resolutions (Dec. 21,

1798), in 5 THE FOUNDERS’ CONSTITUTION, 135, 136 (Philip B. Kurland & Ralph

Lerner, eds., 1987). State-run colleges and universities are no exception from this

rule because “the campus of a public university, at least for its students, possesses

many of the characteristics of a public forum.” Widmar v. Vincent, 454 U.S. 263,

267 n.5 (1981). Thus, public universities have “an obligation to justify [their]

discriminations and exclusions under applicable constitutional norms.” Id. at 267.

      The United States has a significant interest in the vigilant protection of

constitutional freedoms in institutions of higher learning. In recent years, many

institutions of higher education have failed to uphold these freedoms, and free


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speech has come under attack on campuses across the country. Such failure is of

grave concern because freedom of expression is “vital” on campuses, Shelton v.

Tucker, 364 U.S. 479, 487 (1960), which are “peculiarly the ‘marketplace of ideas,’”

Keyishian v. Bd. of Regents of the Univ. of the State of N.Y., 385 U.S. 589, 603

(1967).

      The United States also has a significant interest in ensuring that colleges and

universities, including recipients of federal funds, do not discriminate in their

educational programs. The Attorney General is charged with enforcing laws to

address such discrimination—including a university’s failure to address actionable

harassment that creates a hostile environment based on race, color, national origin,

sex, religion, or disability. See, e.g., 42 U.S.C. § 2000d; 42 U.S.C. § 2000h-2; 42

U.S.C. § 2000c-6; 42 U.S.C. § 1681(a); 42 U.S.C. §§ 12132-12133. Universities

therefore are obligated to provide non-discriminatory educational environments to

their students while also protecting First Amendment freedoms that are the hallmark

of our public institutions of higher learning.

      It is in the interest of the United States to lend its voice to enforce First

Amendment rights on campuses because “‘[t]he Nation’s future depends upon

leaders trained through wide exposure to that robust exchange of ideas which

discovers truth ‘out of a multitude of tongues, (rather) than through any kind of

authoritative selection.’” Keyishian, 385 U.S. at 603. “[O]ur history says that it is


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 this sort of hazardous freedom—this kind of openness—that is the basis of our

 national strength and of the independence and vigor of Americans who grow up and

 live in this relatively permissive, often disputatious, society.” Tinker v. Des Moines

 Indep. Cmty. Sch. Dist., 393 U.S. 503, 508-09 (1969).

                                  BACKGROUND

       The University’s Statement lays out “the rights and responsibilities of

 membership in the University’s academic and social community.” Doc. 4-2, Ex. A,

 at 1. The Statement “describes possible behaviors which are inconsistent with the

 values of the University; it outlines procedures to respond to such behaviors; and it

 suggests possible sanctions/interventions which are intended to educate and to

 safeguard members of the University community.” Doc. 4-2, Ex. A, at 1. The

 Statement directs that various “sanctions/interventions may be recommended” for

 violations, including “Formal Reprimand,” “Disciplinary Probation,” “Restitution,”

 “Restriction from Employment at the University,” “Class/Workshop Attendance,”

 “University Housing Transfer or Removal,” “Suspension,” and “Expulsion.” Doc.

 4-2, Ex. A, at 9-10.

       Section IV of the Statement, titled “Violations,” identifies “behaviors” that

 “contradict the values of the University community and are subject to action under

 the Statement.” Doc. 4-2, Ex. A, at 3. One of those “behaviors” is “[h]arassing or




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 bullying another person—physically, verbally, or through other means.” Doc. 4-2,

 Ex. A, at 3.

       The Statement does not define “[t]he terms associated with the Statement,”

 including “harassing” or “bullying.” Doc. 4-2, Ex. B, at 1, 6-7. Instead, the

 Statement links to a smattering of definitions—from such disparate sources as the

 Merriam-Webster Dictionary, other University policies, and Michigan state law—

 “as examples of various interpretations that exist for terms used in the Statement.”

 Doc. 4-2, Ex. B, at 1.      Those definitions identify four “interpretations” of

 “harassing,” including one two-part alternative definition. Doc. 4-2, Ex. B, at 6-7.

 Those “example” definitions include:

        Merriam-Webster Dictionary: Harassing: (1) to annoy persistently (2) to
         create an unpleasant or hostile situation for, especially by uninvited and
         unwelcome verbal or physical conduct.

        University Policies (Expect Respect Initiative): Harassment: unwanted
         negative attention perceived as intimidating, demanding, or bothersome to
         an individual.

        University Policies: Discriminatory harassment: Verbal or physical
         conduct by a member of the faculty or staff that is based upon race, color,
         creed, religion, national origin, sex, sexual orientation, ancestry, age,
         marital status, handicap or Vietnam-era veteran status.

        Michigan State Law: Harassment: means conduct directed toward a victim
         that includes, but is not limited to, repeated or continuing unconsented
         contact that would cause a reasonable individual to suffer emotional
         distress and that actually causes the victim to suffer emotional distress.
         Harassment does not include constitutionally protected activity or conduct
         that serves a legitimate purpose.

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       The Statement also links to two “example” definitions of “bullying.” Doc. 4-

 2, Ex. B, at 1. One of those example definitions is a four-part alternative definition

 from Michigan state law. Doc. 4-2, Ex. B, at 6. The other is a five-part alternative

 definition from the Merriam-Webster Dictionary that defines “bullying,” in part, as

 (1) “to frighten, hurt, or threaten (a smaller or weaker person)” or (2) “to treat

 abusively.” Doc. 4-2, Ex. B, at 6.

       The University has announced new amendments to the Statement effective

 July 1, 2018. Doc. 4-2, Ex. K, at 1. Those amendments add “bias-motivated

 misconduct” as “a separate violation of the University community’s values.” Doc.

 4-2, Ex. K, at 1. The “misconduct” referred to in “bias-motivated misconduct” is a

 violation of the Statement, such as “harassing” or “bullying.” Doc. 4-2, Ex. K, at 2.

 “Bias-motivated” encompasses “behavior motivated on the basis of any person’s

 identity as protected by the University of Michigan’s Nondiscrimination Policy

 (race, color, national origin, age, marital status, sex, sexual orientation, gender

 identity, gender expression, disability, religion, weight, or veteran status).” Doc. 4-

 2, Ex. K, at 1-2. The amendments provide that “[s]anctions” for violations of the

 Statement—including “harassing” and “bullying”—“may be enhanced in instances

 of bias-motivated misconduct.” Doc. 4-2, Ex. K, at 2. Thus, under the amendments,

 a student who engages in a single episode of constitutionally protected speech could




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 be sanctioned once for “harassing” or “bullying” and again for “bias-motivated

 misconduct.” Doc. 4-2, Ex. K, at 1-2.

       The University also has created a mechanism (“Bias Response Policy”) to

 address “bias incidents.” Doc. 4-2, Ex. F, at 1. The Bias Response Policy defines

 “bias incident” to encompass “non-criminal activities that harm another” based on

 their identity, Doc. 4-2, Ex. H, at 4, and “conduct that discriminates, stereotypes,

 excludes, harasses, or harms anyone in our community based on their identity (such

 as race, color, ethnicity, national origin, sex, gender identity or expression, sexual

 orientation, disability, age or religion),” Doc. 4-2, Ex. F, at 1. According to the

 University’s Expect Respect Initiative, “bias” is “a pre-formed negative opinion or

 attitude toward a group of persons who possess common physical characteristics,

 such as skin color; or cultural experiences, such as religion or national origin.” Doc.

 4-2, Ex. E, at 1. The Bias Response Policy states that “[b]ias often stems from fear,

 misunderstanding, hatred, and stereotypes that may be intentional or unintentional.”

 Doc. 4-2, Ex. F, at 1. It emphasizes that “[b]ias comes in many forms” and “can be

 hurtful action based on who someone is as a person,” and it tells students that “[t]he

 most important indication of bias is your own feelings.” Doc. 4-2, Ex. F, at 3.

       The University has created the “Bias Response Team” (“BRT”) to oversee

 “the response and management of bias incidents.” Doc. 4-2, Ex. F, at 1. The BRT

 is comprised of University administrators and law enforcement, and may also


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 include students and “community representatives who serve the U-M community.”

 Doc. 4-2, Ex. F, at 1. The BRT is authorized to impose “a range of remedies” for

 “bias incidents,” including “disciplinary action,” Doc. 4-2, Ex. H, “individual

 education,” Doc. 4-2, Ex. I, or “restorative justice,” Doc. 4-2, Ex. L. To date, the

 BRT has investigated and responded to more than 150 reports of “expressions of

 bias” in a wide array of forums and touching on a broad range of subjects, including

 race, religion, sexual orientation, color, national origin, sex, disability, socio-

 economic status, organizational affiliation, political status, “race/politics,” “cultural

 appropriation,” and “gender expression.” Doc. 4-2, Ex. J.

          The University has also promulgated a Freedom Of Speech And Artistic

 Expression Policy. See University Of Michigan, Standard Practice Guide Policy

 601.1:     Freedom    Of    Speech     And      Artistic   Expression,     available   at

 http://spg.umich.edu/policy/601.01 (last visited June 8, 2018) (cited at Defs.’ Mot.

 For Extension Of Time ¶ 2 (Doc. 9)). That policy, however, does “not cover . . .

 verbal harassment directed at individuals where there is no intent to communicate

 publicly or with a wider audience.” Id. That policy “do[es] not apply to the

 classroom” or provide “general guidelines concerning freedom of expression among

 individuals.” Id. Instead, that policy “concern[s]” only “how most fully to protect

 rights of free expression for speakers, performers, and protesters alike” in “settings

 in which an audience has been assembled for a talk or performance.” Id.


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                                     ARGUMENT

       A plaintiff seeking a preliminary injunction must show that “he is likely to

 succeed on the merits, that he is likely to suffer irreparable harm in the absence of

 preliminary relief, that the balance of equities tips in his favor, and that an injunction

 is in the public interest.” Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008).

 “When a party seeks a preliminary injunction on the basis of the potential violation

 of the First Amendment, the likelihood of success on the merits often will be the

 determinative factor” because “it is well-settled that loss of First Amendment

 freedoms, for even minimal periods of time, unquestionably constitutes irreparable

 injury,” and “it is always in the public interest to prevent the violation of a party’s

 constitutional rights.” Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir.

 1998) (internal quotation marks omitted). Plaintiff meets these standards here.

       “[T]he Supreme Court has held time and again, both within and outside the

 school context, that the mere fact that someone might take offense at the content of

 speech is not sufficient justification for prohibiting it.” Saxe v. State College Area

 Sch. Dist., 240 F.3d 200, 215 (3d Cir. 2001) (Alito, J.). After all, “[i]f there is a

 bedrock principle underlying the First Amendment, it is that the government may

 not prohibit the expression of an idea simply because society finds the idea offensive

 or disagreeable.” Texas, 491 U.S. at 414. The government thus may not prohibit

 speech based on the “mere desire to avoid the discomfort and unpleasantness that


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 always accompany an unpopular viewpoint.” Tinker, 393 U.S. at 509; see also Street

 v. New York, 394 U.S. 576, 592 (1969) (“[T]he public expression of ideas may not

 be prohibited merely because the ideas are themselves offensive to some of their

 hearers.”); R.A.V. v. City of St Paul, 505 U.S. 377, 414 (1992) (“The mere fact that

 expressive activity causes hurt feelings, offense, or resentment does not render the

 expression unprotected.”). Nor may the government ban speech “based solely on

 the emotive impact that its offensive content may have on a listener.” Saxe, 240

 F.3d at 209 (Alito, J.); Forsyth Cty, 505 U.S. at 134 (ordinarily “[l]isteners’ reaction

 to speech is not a content-neutral basis for regulation”).

        State entities, including State-run colleges and universities, can—and, in

 certain circumstances, must—proscribe “harassment,” “bullying,” and “bias-related

 misconduct,” but those efforts must comport with the First Amendment and the

 Constitution.2 As this Court noted nearly 30 years ago when it struck down a prior


    2
      For example, State entities can prohibit fighting words, harassing speech that
 creates a hostile environment, and “true threats”—all of which are particularly
 salient in the context of college campuses—in accordance with the First
 Amendment. Chaplinsky v. New Hampshire, 315 U.S. 568, 572 (1942) (defining
 fighting words as those which “by their very utterance inflict injury or tend to incite
 an immediate breach of the peace”); Davis v. Monroe Cty. Bd. of Educ., 526 U.S.
 629, 651 (1999) (establishing liability standards for damages under Title IX based
 on school district’s failure to respond to hostile environment created by student-on-
 student sexual harassment); Virginia v. Black, 538 U.S. 343, 359 (2003) (defining
 true threats as speech that intends “to communicate a serious expression of an intent
 to commit an act of unlawful violence to a particular individual or group of
 individuals.”). So, too, can States enact hate-crime statutes that comport with the
 First Amendment. See 18 U.S.C. § 249.
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 speech policy of the University of Michigan, “[h]owever laudable or appropriate”

 the University’s efforts to promote civility and inclusiveness on campus, a policy

 that “swe[eps] within its scope a significant amount of verbal conduct or verbal

 behavior which is unquestionably protected under the First Amendment” cannot pass

 constitutional muster. Doe v. Univ. of Mich., 721 F. Supp. 852, 853 (E.D. Mich.

 1989).   Unfortunately, the portions of the Statement and the Bias Response Policy

 that Plaintiff challenges stretch far beyond the objective, well-established legal

 definitions of “harassment” or “bias,” and prohibit broad swaths of speech protected

 by the First Amendment. In particular, the Statement and the Bias Response Policy

 proscribe and punish core protected speech based upon nothing more than the

 listener’s subjective “reaction,” Forsyth Cty., 505 U.S. at 134, fail to “provide fair

 notice of the standard of conduct to which the citizen is held accountable,” and

 impermissibly expose faculty, students, and visitors to “arbitrary, discriminatory,

 and overzealous enforcement” by University officials, Leonardson, 896 F.2d at 195-

 96. The challenged portions of the Statement and the Bias Response Policy violate

 the First Amendment.

 I.    BY THEIR TERMS, THE UNIVERSITY’S PROHIBITIONS ON
       “HARASSING,” “BULLYING,” “BIAS-RELATED MISCONDUCT,”
       AND “BIAS INCIDENTS” VIOLATE THE FIRST AMENDMENT

       The Supreme Court has warned against “the possibility that protected speech

 of others may be muted . . . because of the possible inhibitory effects of overly broad


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 statutes.” Broadrick, 413 U.S. at 612. The First Amendment overbreadth doctrine

 thus “ensure[s] that an overbroad statute does not act to ‘chill’ the exercise of rights

 guaranteed protection.” Leonardson, 896 F.2d at 195; see also NAACP v. Button,

 371 U.S. 415, 433 (1933) (“Because First Amendment freedoms need breathing

 space to survive, government may regulate in the area only with narrow

 specificity.”).

        In this Circuit, a court’s first step in applying the overbreadth doctrine is to

 consider whether the challenged policy “reaches a substantial amount of

 constitutionally protected speech.” Dambrot v. Central Mich. Univ., 55 F.3d 1177,

 1182 (6th Cir. 1995) (quoting Members of City Council v. Taxpayers for Vincent,

 466 U.S. 789, 801 (1984)); Leonardson, 896 F.2d at 195. The court then examines

 whether the policy is “substantially overbroad and constitutionally invalid under the

 void for vagueness doctrine.” Dambrot, 55 F.3d at 1183; Leonardson, 896 F.2d at

 195-96. Unconstitutional vagueness can arise in “two forms, both of which result in

 a denial of due process.” Leonardson, 896 F.2d at 195-96. A policy is void for

 vagueness whenever it either fails to “provide fair notice of the standard of conduct

 to which the citizen is held accountable” or “leaves the definition of its term to law

 enforcement officers, and thereby invites arbitrary, discriminatory, and overzealous

 enforcement.” Id.




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         Here, Plaintiff is likely to succeed on the merits because the challenged

 portions of the University’s Statement and the Bias Response Policy reach a

 substantial amount of constitutionally protected speech and are void for vagueness.

    A.      The Statement’s Bans On “Harassing,” “Bullying,” And “Bias-
            Motivated Misconduct” Are Overbroad And Void For Vagueness

         The portions of the Statement that the Plaintiff challenges are a paradigmatic

 example of overbreadth and vagueness. The University has declined to bind itself

 to a definition of either “harassing” or “bullying,” Doc. 4-2, Ex. B, at 1, 6-7, both of

 which are incorporated in “bias-motivated misconduct,” Doc. 4-2, Ex. K, at 2.

 Instead, the University has identified only “example” definitions of those terms.

 Doc. 4-2, Ex. B, at 1, 6-7. The University has identified four such “example”

 definitions of “harassment,” including one two-part definition, from such disparate

 sources as the Merriam-Webster Dictionary, other University policies, and Michigan

 state law. Doc. 4-2, Ex. B, at 1, 6-7. The University has also identified two

 “example” definitions of “bullying,” one of which is a five-part alternative definition

 and the other of which is a four-part alternative definition. Doc. 4-2, Ex. B, at 1, 6-

 7. Neither the Statement, the Definitions, nor any other University pronouncement

 identifies which of those definitions, if any or all, governs the University’s

 application of the Statement, its ban on “harassing,” “bullying,” and “bias-motivated

 misconduct,” and its imposition of sanctions up to and including suspension or



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 expulsion. Doc. 4-2, Ex. B, at 6-7. These portions of the Statement contravene the

 First Amendment.

       1.     First, the University’s use of the terms “harassing,” “bullying,” and

 “bias-motivated misconduct” reaches “a substantial amount of constitutionally

 protected speech.” Dambrot, 55 F.3d at 1182. The hallmarks of the well-established

 definition of actionable harassment are severity, pervasiveness, and objective

 offensiveness. See, e.g., Davis, 526 U.S. at 651 (Title IX: “so severe, pervasive, and

 objectively offensive, and that so undermines and detracts from the victims’

 educational experience, that the victim-students are effectively denied equal access

 to an institution’s resources and opportunities”); Harris v. Forklift Systems, Inc., 510

 U.S. 17, 21 (1993) (Title VII: “discriminatory intimidation, ridicule, and insult that

 is sufficiently severe or pervasive to alter the conditions of the victim’s employment

 and create an abusive working environment”).           But in the absence of “any

 requirement akin to a showing of severity or pervasiveness—that is, that the conduct

 objectively and subjectively creates a hostile environment or substantially interferes

 with an individual’s work”—a university’s “harassment” policy violates the First

 Amendment when it “provide[s] no shelter for core protected speech.” DeJohn v.

 Temple University, 537 F.3d 301, 317-18 (3d Cir. 2008). Indeed, “[l]oosely worded

 anti-harassment laws may pose some of the same problems as the St. Paul hate

 speech ordnance [in R.A.V.]: they may regulate deeply offensive and potentially


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 disruptive categories of speech based, at least in part, on subject matter and

 viewpoint.” Saxe, 240 F.3d at 208 (Alito, J.).

       Three cases illustrate how an anti-harassment policy can overreach into areas

 of protected speech. In Dambrot, the Sixth Circuit invalidated a public university’s

 “discriminatory harassment” policy on First Amendment grounds. See 55 F.3d at

 1182-84. The policy challenged there stated that “discriminatory harassment will

 not be condoned” and defined “[r]acial and ethnic harassment” as “any intentional,

 unintentional, physical, verbal, or nonverbal behavior that subjects an individual to

 an intimidating, hostile or offensive educational, employment, or living

 environment.” Id. at 1182. Such “harassment” could be shown through use of

 “symbols, [epithets], or slogans that infer negative connotations about the

 individual’s racial or ethnic affiliation.” Id. The Sixth Circuit held that “[o]n its

 face, the policy reaches a substantial amount of constitutionally protected speech”

 because “[i]t is clear from the text of the policy that language or writing, intentional

 or unintentional, regardless of political value, can be prohibited upon the initiative

 of the university.” Id. at 1182-83. The policy was “sweeping and seemingly drafted

 to include as much and as many types of conduct as possible.” Id.at 1182.

       The Third Circuit reached a similar conclusion in DeJohn. The university’s

 sexual harassment policy prohibited “all forms of sexual harassment, including . . .

 expressive, visual, or physical conduct of a sexual or gender-motivated nature” when


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 such conduct “has the purpose or effect of creating an intimidating, hostile, or

 offensive environment.” 537 F.3d at 305. The Third Circuit concluded that the

 policy’s “use of ‘hostile,’ ‘offensive,’ and ‘gender-motivated’ is, on its face,

 sufficiently broad and subjective that they ‘could conceivably be applied to cover

 any speech’ of a ‘gender-motivated’ nature ‘the content of which offends someone.’”

 Id at 318. (quoting Saxe, 240 F.3d at 217 (Alito, J.)). The policy thus could prohibit

 “‘core’ political and religious speech, such as gender politics and sexual morality”

 or “opinions in class concerning women in combat and women in the military.” Id.

 at 317 & n.18.      The Third Circuit therefore held that the policy, absent “a

 requirement that the conduct objectively and subjectively creates a hostile

 environment or substantially interferes with an individual’s work,” was overbroad

 in violation of the First Amendment. See id. at 317-19.

       This Court’s decision in Doe is also especially instructive. At issue was a

 previous University of Michigan policy that included in its definition of harassment

 “[a]ny behavior, verbal or physical, that stigmatizes or victimizes an individual on

 the basis of race, ethnicity, religion, sex, sexual orientation, creed, national origin,

 ancestry, age, marital status, handicap or Vietnam-era veteran status.” 721 F. Supp.

 at 856. The Court explained that “[a] law regulating speech will be deemed

 overbroad if it sweeps within its ambit a substantial amount of protected speech

 along with that which it may legitimately regulate.” Id. at 864. The challenged


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 policy was overbroad for precisely that reason: the Court pointed to occasions on

 which “the University considered serious comments made in the context of

 classroom discussion to be sanctionable under the Policy.” Id. at 866. What

 mattered principally was the listener’s sense of being victimized or stigmatized. See

 id.

       Thus, in Dambrot, DeJohn, and Doe, the universities failed to include the

 hallmarks of the well-established legal standard for harassment in their policies—

 including the requirement of objective offensiveness—but instead allowed the

 subjective reaction of the listener to dictate whether the speech was permissible.

 Therefore, the policies were facially unconstitutional. See Dambrot, 55 F.3d at

 1182-84; DeJohn, 537 F.3d at 317-19; Doe, 721 F. Supp. at 856, 864-66. Such is

 the case here as well: the Statement’s ban on “harassing,” “bullying,” and “bias-

 motivated misconduct” turn on the listener’s reaction to speech. For example, one

 of the University’s myriad “example” definitions of “harassing” comes from the

 Merriam-Webster Dictionary and defines that term as “unwanted negative attention

 perceived as intimidating, demeaning, or bothersome to an individual.” Doc. 4-2,

 Ex. B, at 6 (emphasis added).       Moreover, one of the University’s multi-part

 alternative “example” definitions of “bullying” defines that term in part as (1) “to

 frighten, hurt, or threaten (a smaller or weaker person)” or (2) “to treat abusively.”

 Doc. 4-2, Ex. B, at 6.


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       Accordingly, a member of the University community may be found to have

 engaged in “harassing,” “bullying,” or “bias-motivated misconduct” in violation of

 the Statement based on nothing more than the listener’s reaction that the speech is

 “demeaning,” “bothersome,” “hurt[ful],” or “abusive[].” Doc. 4-2, Ex. B, at 6. The

 Statement thus does precisely what the First Amendment forbids—it punishes

 speech merely because of “[l]isteners’ reaction.” Forsyth Cty., 505 U.S. at 134-35;

 see also Texas, 491 U.S. at 414; Tinker, 393 U.S. at 509; Street, 394 U.S. at 592;

 R.A.V., 505 U.S. at 414; Saxe, 240 F.3d at 209-15 (Alito, J.). Indeed, it is not difficult

 to imagine how speech regarding the “wide array of controversial topics on which

 Plaintiff’s members wish to engage in open, vigorous, or provocative debate and

 discussion”—such as “politics, immigration, race, sex, gender identity, religion,

 abortion, gun rights, and cultural issues,” Pl.’s Br. at 11 (Doc. 4)—would be

 “perceived as” “demeaning,” “bothersome,” or “hurt[ful]” by some individual in the

 University community, Doc. 4-2, Ex. B, at 6 (emphasis added); see also Pl.’s Br. at

 15 (Doc. 4). The facial overbreadth of the Statement is clear.

       2.     Second, the Statement’s bans on “harassing,” “bullying,” and “bias-

 motivated misconduct” present “both problems” implicated by the void for

 vagueness doctrine: “fair notice and unrestricted delegation.” Dambrot, 55 F.3d at

 1184. In fact, the University’s listing of “examples” and failure to bind itself to a

 definition of those terms alone establish that they are void for vagueness. Indeed,


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 because the University has not bound itself to controlling definitions, members of

 the University community “of common intelligence must necessarily guess at [the]

 meaning” of the Statement’s proscriptions, Broadrick, 413 U.S. at 607, and may

 “‘steer far wider of the unlawful zone,’ than if the boundaries of the forbidden areas

 were clearly marked,” Baggett, 377 U.S. at 372.

       Moreover, the University’s failure to bind itself to controlling definitions

 effects “an unrestricted delegation of power” to University officials. Leonardson,

 896 F.2d at 196. Policies that confer discretionary power on government officials

 to regulate speech must contain “narrowly drawn, reasonable, and definite standards

 for the officials to follow.” Niemotko, 340 U.S. at 271; see also Forsyth Cty., 505

 U.S. at 131 (holding that speech policies “must contain narrow, objective, and

 definite standards” to guide officials (internal quotation marks and citation

 omitted)). But the University provides no single definition of the challenged terms

 in the Statement, let alone a “narrowly drawn” one. Niemotko, 340 U.S. at 271. The

 University’s failure to prescribe such a standard “in practice leaves the definition”

 to University officials because it leaves University officials free to choose any, all,

 or none of the “example” definitions of those terms. Id. In fact, this failure even

 allows University officials to apply different definitions across cases—including

 because of their own approval or disapproval of the content or viewpoint expressed

 by the speech challenged in any individual case. See id. Such a scenario opens up


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 precisely the risk of “arbitrary, discriminatory, and overzealous enforcement” that

 the First Amendment forbids. Id.

         Finally, the subjective “example” dictionary definitions of “harassing” and

 “bullying” (and, by incorporation, “bias-motivated misconduct”) are void for

 vagueness because they turn on what the listener subjectively “perceive[s].” Doc.

 4-2, Ex. B, at 6. As the Sixth Circuit reasoned in striking down the anti-harassment

 policy Dambrot, “[i]n order to determine what conduct will be considered

 [demeaning, bothersome, or hurtful] to the university, one must make a subjective

 reference” based upon the listener’s perception. 55 F.3d at 1184. Because “different

 people find different things” intimidating, demeaning, or bothersome, the definition

 “does not provide fair notice of what speech will violate the policy” but instead

 improperly leaves those definitions “wholly delegated to university officials.” Id.

         For these reasons, the challenged portions of the Statement are overbroad and

 void for vagueness in violation of the First Amendment.

    B.      The Bias Response Policy Is Unconstitutionally Overbroad And Void
            For Vagueness

         The University’s overbroad proscription on and punishment of core protected

 speech in violation of the First Amendment does not end with the Statement. The

 University’s Bias Response Policy addresses “bias incidents,” which may arise from

 “non-criminal activit[y],” Doc. 4-2, Ex. H, at 4, that “excludes, harasses, or harms

 anyone . . . based on their identity,” Doc. 4-2, Ex. F, at 1. Like the challenged
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 portions of the Statement, the Bias Response Policy incorporates a wholly subjective

 definition of “bias.” The Bias Response Policy emphasizes that “[b]ias comes in

 many forms” and “can be hurtful action based on who someone is as a person,” and

 it tells students that “[t]he most important indication of bias is your own feelings.”

 Doc. 4-2, Ex. F, at 3 (emphasis added). It also states that “[b]ias often stems from

 fear, misunderstanding, hatred, and stereotypes that may be intentional or

 unintentional.” Doc. 4-2, Ex. F, at 1 (emphasis added). To date, the BRT has

 responded to more than 150 “bias incidents.” Doc. 4-2, Ex. J.

       A university community undoubtedly has an interest in combatting harm to

 members of its community, in instilling respect for all persons, and in eradicating

 prejudice from its campus. The rub here, however, is that the Bias Response Policy

 is wholly subjective: it authorizes disciplinary consequences based on the “most

 important indication” of the listener’s “own feelings,” Doc. 4-2, Ex. F, at 3; Ex. H;

 Ex. I; Ex. L, and thus can sweep in all manner of constitutionally protected speech.

 The Third Circuit already has held that a university policy prohibiting “conduct

 which causes emotional distress” is unconstitutionally overbroad. McCauley v.

 Univ. of the Virgin Islands, 618 F.3d 232, 250-53 (3d Cir. 2010). The Third Circuit

 reasoned that “‘[e]motional distress’ is a very loose concept” that requires nothing

 more than a “state of feeling” involving “an exceedingly minimal threshold of

 harm.” Id. at 250. Even on a “narrow understanding” of that term, the Third Circuit


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 concluded that it was “clear that the term is driven by the subjective preference of

 the individual,” “without regard for whether the speech is objectively problematic.”

 Id. at 250-51.

       Thus, “[t]he scenarios in which this [policy] may be implicated are endless”:

              [A] religious student organization inviting an atheist to
              attend a group prayer meeting on campus could prompt
              him to seek assistance in dealing with the distress of being
              invited to the event; minority students may feel emotional
              distress when other students protest against affirmative
              action; a pro-life student may feel emotional distress when
              a pro-choice student distributes Planned Parenthood
              pamphlets on campus; even simple name-calling could be
              so punished.

 Id. at 251. “The reason all of these scenarios are plausible . . . is that the [policy] is

 not based on speech at all. It is based on a listener’s reaction to speech.” Id.

       The University’s reduction of “bias incidents” to the listener’s “own feelings,”

 Doc. 4-2, Ex. F, at 3, likewise violates the First Amendment because it is not “based

 on speech at all” but on “a listener’s reaction to speech,” McCauley, 618 F.3d at 251.

 The Bias Response Policy does not prescribe any “minimal threshold of harm” to

 the listener’s “feelings.” Id. at 250. Thus, the scenarios implicated by the Bias

 Response Policy are even more numerous, and no less “endless,” than the scenarios

 that established the constitutional violation in McCauley. Id. at 251. Moreover, the

 Bias Response Policy focuses on the speaker’s “motivat[ion]” and the subjective

 “hurtful[ness]” of the speech. Doc. 4-2, Ex. F, at 1-3; see also Dambrot, 55 F.3d at


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 1184. Accordingly, as with the Statement, the Bias Response policy captures “a

 substantial amount of constitutionally protected speech,” Dambrot, 55 F.3d at 1182,

 defeats any “fair notice of the standard of conduct to which the citizen is held

 accountable,” and improperly “leaves the definition of its term to law enforcement

 officers,   and   thereby   invites   arbitrary,   discriminatory,   and   overzealous

 enforcement,” Leonardson, 896 F.2d at 195-96. The Bias Response Policy “is

 rightly criticized” because it prohibits “‘core’ political and religious speech” in

 violation of the First Amendment. DeJohn, 537 F.3d at 317.

                                   CONCLUSION

       For the foregoing reasons, Plaintiff is likely to succeed on the merits of its

 claim that the challenged portions of the Statement and the Bias Response Policy

 violate the First and Fourteenth Amendments.




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                            Dated: June 11, 2018

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                           CERTIFICATE OF SERVICE

       I hereby certify that I have this day filed the foregoing document with the

 Clerk of Court using the CM/ECF system, which automatically sent counsel of

 record e-mail notification of such filing.

                                                    This 11th day of June, 2018

                                                    s/Peter A. Caplan
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